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                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

JENNIFER LYNN FALTINOWSKI,
      Plaintiff,
v.                                              Case No. 3:20-cv-5819-MCR-MJF
KILOLO KIJAKAZI,
      Defendant.
                                            /

                                           ORDER

      This cause comes on for consideration upon the magistrate judge’s Report and

Recommendation dated August 20, 2021. (ECF No. 19). The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). There are no objections.

      Having considered the Report and Recommendation, and the record, I have

determined that the Report and Recommendation should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this order.

      2.     The Petition for Attorney Fees under the Equal Access to Justice Act

(Doc. 18) is GRANTED.
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      3.     Plaintiff shall recover costs in the amount of $400, and attorney fees of

$815.10 for time expended by her counsel in representing her before the United

States District Court for the Northern District of Florida. The fee award is subject to

an offset to satisfy any qualifying debt that Plaintiff owes to the United States.

      4.     If Plaintiff receives all or any portion of the EAJA fee award, Defendant

shall mail it to Plaintiff in care of her attorney, Erik W. Berger, 3744 Dupont Station

Court South, Jacksonville, Florida 32217.

      DONE AND ORDERED this 27th day of September 2021.




                                s/ M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
